

People v Wiggins (2019 NY Slip Op 02125)





People v Wiggins


2019 NY Slip Op 02125


Decided on March 20, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 20, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
REINALDO E. RIVERA
MARK C. DILLON
SHERI S. ROMAN, JJ.


2001-09564
 (Ind. No. 01-00622)

[*1]The People of the State of New York, respondent,
vRobert Wiggins, appellant.


Robert Wiggins, Napanoch NY, appellant pro se.
David M. Hoovler, District Attorney, Goshen, NY (Andrew R. Kass of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated April 19, 2004 (People v Wiggins, 6 AD3d 634), affirming a judgment of the County Court, Orange County, rendered October 25, 2001.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
MASTRO, J.P., RIVERA, DILLON and ROMAN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








